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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 2018-CIV-23984-GAYLES/OTAZO-REYES


  EQUAL EMPLOYMENT OPPORTUNITY
  COMMISSION,

         Plaintiff,

  KAREEM DORE,

         Intervenor Plaintiff,

  v.

  USA PARKING SYSTEM, INC.,

         Defendant.
                                                    /

   DEFENDANT’S ANSWER AND DEFENSES TO INTERVENOR PLAINTIFF KAREEM
                     DORE’S AMENDED COMPLAINT

         Defendant, USA Parking System, Inc. (“Defendant”), pursuant to Fed. R. Civ. P. 12(a),

  answers the numbered paragraphs of the Amended Complaint filed by Intervenor Plaintiff

  Kareem Dore (“Plaintiff” or “Dore”) and presents the following defenses.

                                      “NATURE OF ACTION”

         1.      Defendant admits that the Complaint purports to be an action for recovery of

  damages for disability discrimination pursuant to Title I of the Americans with Disabilities Act

  of 1990 as amended, 42 U.S.C. § 12111 et seq. (“ADA”), and the Florida Civil Rights Act, Fla.

  Stat. § 760.01 et seq. (“FCRA”). Defendant specifically denies that any action has occurred that

  would constitute a violation of those statutes.

                                  “JURISDICTION AND VENUE”

         2.      Admitted. Defendant specifically denies that any discrimination has occurred.
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         3.       Admitted. Defendant specifically denies that any violation of state law has

  occurred.

         4.       Admitted that venue is proper in this District because the alleged discrimination is

  alleged to have occurred in this District. Defendant specifically denies that any discrimination

  has occurred.

                                   “CONDITION PRECEDENT”

         5.       Defendant is without sufficient knowledge to admit or deny the allegations in this

  paragraph, and therefore, denies them.

         6.       Admitted that Dore has a statutory right to intervene pursuant to 42 U.S.C.

  §2000e-5(f)(1). Defendant specifically denies that Dore has been aggrieved by Defendant.

         7.       Defendant is without sufficient knowledge to admit or deny the allegations in this

  paragraph, and therefore, denies them.

                                             “PARTIES”

         8.       Defendant is without sufficient knowledge to admit or deny the allegations in this

  paragraph, and therefore, denies them.

         9.       Defendant is without sufficient knowledge to admit or deny the allegations in this

  paragraph, and therefore, denies them.

         10.      Admitted. Defendant denies that any violation of Title I of the ADA has

  occurred.

         11.      Admitted.

         12.      Admitted.

         13.      Admitted.

         14.      Denied.



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         15.     Denied.

         16.     Admitted.

         17.     Admitted.

         18.     Admitted that Defendant was an “employer” as defined under the FCRA. Denied

  that Defendant was an “employer” as defined under the ADA.

                                    “STATEMENT OF FACTS”

         19.     Admitted.

         20.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         21.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         22.     Admitted.

         23.     Admitted.

         24.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         25.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         26.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         27.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         28.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.



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         29.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         30.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         31.     Denied.

         32.     Admitted.

         33.     Admitted.

         34.     Admitted.

         35.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         36.     Admitted.

         37.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         38.     Denied.

         39.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         40.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         41.     Denied.

         42.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         43.     Denied.




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         44.     Defendant admits only that Angel Lopez allowed Dore to communicate in

  writing. Otherwise, denied.

         45.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         46.     As stated, Defendant is without knowledge or information sufficient to admit or

  deny the allegations in this paragraph, and therefore, denies them.

         47.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         48.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         49.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         50.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         51.     Denied.

         52.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         53.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         54.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.




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         55.     Defendant denies that Dore can communicate effectively in English. Defendant is

  without knowledge or information sufficient to admit or deny that Dore can communicate

  effectively in American Sign Language, and therefore, denies this allegation.

         56.     Denied.

         57.     Denied.

         58.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         59.     Defendant is without knowledge or information sufficient to admit or deny the

  allegations in this paragraph, and therefore, denies them.

         60.     Admitted.

         61.     Denied.

                                         “COUNT I – ADA”

         62.     Defendant repeats its responses to Paragraphs 1-61 as stated above.

         63.     Denied.

         64.     Denied.

         65.     Denied.

         66.     Denied.

         67.     Denied.

         68.     Denied.

         Defendant denies that Plaintiff is entitled to the relief requested in subparagraphs (A)

  through (G) of the “WHEREFORE” clause following Paragraph 68.

            “COUNT II – FCRA – Disability Discrimination Based Upon Handicap”

         69.     Defendant repeats its responses to Paragraphs 1-61 as stated above.



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         70.     Denied.

         71.     Admitted that at all material times, Dore was perceived as being deaf. Defendant

  is without knowledge or information sufficient to admit or deny the remaining allegations in this

  paragraph, and therefore, denies them.

         72.     Admitted that Fla. Stat. § 760.10(1) is quoted correctly. Defendant denies that

  any part of the cited statute is “applicable.”

         73.     Denied.

         74.     Denied.

         75.     Denied.

         76.     Denied.

         77.     Denied.

         78.     Denied, including subparagraphs (a) through (h).

                                   “DEMAND FOR JURY TRIAL”

         Defendant admits that Dore requests a jury trial.

                           DEFENSES AND AFFIRMATIVE DEFENSES

         79.     Dore’s Amended Complaint fails, in whole or in part, to state a claim upon which

  relief may be granted.

         80.     All actions taken with regard to Dore’s application for employment were based on

  legitimate business reasons unrelated to his claimed disability.

         81.     All actions taken with regard to Dore’s application for employment were for good

  cause and taken in good faith.




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         82.     If hired for the position for which he applied, Dore would pose a direct threat to

  the health or safety of himself and other individuals in the work place that could not be

  eliminated by a reasonable accommodation.

         83.     Dore was not able to perform the essential functions of the position for which he

  applied with or without reasonable accommodation.

         84.     The employment of Dore as a Valet Attendant would pose an undue hardship

  upon Defendant.

         85.     Defendant’s good faith efforts to comply with federal anti-discrimination laws

  preclude any recovery for punitive damages.

         86.     Any recovery must be reduced, in whole or in part, because Dore failed or refused

  to take reasonable efforts to mitigate his damages.

         87.     Defendant reserves the right to assert a mixed motive defense because, even if

  Dore proves that a discriminatory intent was a motivating factor in the challenged employment

  decision(s), the adverse employment decision at issue would have been made anyways even in

  the absence of any discrimination.

         88.     Defendant reserves the right to assert such additional defenses as may appear

  applicable during the course of this litigation.

         WHEREFORE, Defendant respectfully requests that this Court dismiss Dore’s Amended

  Complaint with prejudice, award Defendant its costs and reasonable attorneys’ fees incurred in

  this action, and award any such other and further relief as this Court deems just and proper.




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  Dated: November 13, 2018

                                        Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 13, 2018, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record or pro se parties identified on the attached

   Service List in the manner specified, either via transmission of Notices of Electronic Filing

   generated by CM/ECF or in some other authorized manner for those counsel or parties who are

   not authorized to receive electronically Notices of Electronic Filing.


                                                    s/ Paul De Boe
                                                    Paul J. De Boe




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                                          SERVICE LIST
              Equal Employment Opportunity Commission v. USA Parking System, Inc.
                     United States District Court, Southern District of Florida
                      Case No. 2018-CIV-23984-GAYLES/OTAZO-REYES

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